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THE ATKIN FIRM, LLC

Formed in the State of New Jersey

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

STRIKE 3 HOLDINGS, LLC,
Plaintiff,

Vv.

JOHN DOE, subscriber assigned IP address
100.8.21.203,

Defendant.

 

 

Case No. 3:19-cv-16185-AET-TJB

NOTICE OF VOLUNTARY
DISMISSAL WITH PREJUDICE

 

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Strike 3 Holdings,

LLC hereby gives notice that its claims in this action against Defendant John Doe, subscriber

 

assigned IP address 100.8.21.203, are voluntarily dismissed with prejudice.

DATED: February 28, 2020 Respectfully submitted,

THE ATKIN FIRM, LLC

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it Is so ordered this 2— day
ye 20.22.

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Anne E. Thompson, Usb

 

Attorneys for Plaintiff,
Strike 3 Holdings, LLC

{s/ John C. Atkin, Esq.
John C. Atkin, Esq.
